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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

 JEREMY WIGLEY,                             §
                                            §
      Plaintiff,                            §
                                            §
 V.                                         §     NO: 6:21-CV-00901-ADA-DTG
                                            §
 UNITED STATES OF AMERICA,                  §
                                            §
      Defendant.                            §


                   PLAINTIFF’S RULE 26(a)(2) EXPERT DISCLOSURES


TO:     Defendant UNITED STATES OF AMERICA by and through its counsel of record, Robert
        Green, U. S. ATTORNEY’S OFFICE, 601 NW Loop 410, Suite 500, San Antonio, Texas
        78216.

        COMES NOW, JEREMY WIGLEY, Plaintiff herein, and serves this, his Rule 26(a)(2)

Expert Disclosures.

                                                Respectfully submitted,

                                                WENHOLZ | DOW P.C.
                                                9433 Bee Caves Rd., Ste. 1-200
                                                Austin, Texas 78733
                                                (512) 478-2211
                                                (512) 478-3625 (fax)

                                                By:      /S/ J. Luke Dow
                                                      J. Luke Dow
                                                      Texas Bar No. 00793636
                                                      ldow@wenhozdow.com

                                                ATTORNEYS FOR PLAINTIFF
                                                JEREMY WIGLEY
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                                  CERTIFICATE OF SERVICE

      I hereby certify that on this 16th day of May, 2022, a true and correct copy of the foregoing
document was served to all counsel and parties of record according to the Federal Rules of Civil
Procedure.

        Robert Green               robert.green3@usdoj.com
        U. S. ATTORNEY’S OFFICE
        601 NW Loop 410, Suite 600
        San Antonio, TX 78216


                                                     /S/ J. Luke Dow
                                                     J. Luke Dow




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                            RULE 26(a)(2) EXPERT DISCLOSURES

26(a)(2)(B)     Unless otherwise stipulated or ordered by the court, this disclosure must be
                accompanied by a written report – prepared and signed by the witness – if the
                witness is one retained or specially employed to provide expert testimony in the
                case or one whose duties as the party’s employee regularly involve giving expert
                testimony. The report must contain:

                (i)     A complete statement of all opinions the witness will express and the basis
                        and reasons for them;
                (ii)    The facts or data considered by the witness in forming them;
                (iii)   Any exhibits that will be used to summarize or support them;
                (iv)    The witness’s qualifications, including a list of all publications authored in
                        the previous ten (10) years;
                (v)     A list of all other cases in which, during the previous 4 years, the witness
                        has testified as an expert at trial or by deposition; and
                (vi)    A statement of the compensation to be paid for the study and testimony in
                        the case.

RESPONSE:

        None.

26(a)(2)(C)     Unless otherwise stipulated or ordered by the court, if the witness is not required to
                provide a written report, this disclosure must state:

                (i)     The subject matter on which the witness is expected to present evidence
                        under Federal Rule of Evidence 702, 703 or 705; and;
                (ii)    A summary of the facts and opinions to which the witness is expected to
                        testify.

RESPONSE:

Non-retained experts:

Plaintiff identifies the following non-retained persons from whom Plaintiff may elicit
testimony from at trial under FRE 702, 703, or 705. They may be called at the time of trial
to testify regarding FRE 702, 703, or 705 evidence concerning their credentials, causation,
the Plaintiff’s medical condition, treatment, diagnosis and opinions based upon a reasonable
degree of medical certainty. Any one or more of the following expert witnesses were health
care providers who treated Plaintiff who are being designated as non-retained experts in this
case.




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Plaintiff may call the following non-retained experts to testify at trial. Said testimony may
be given in person, by deposition, or by their medical records pursuant to Tex. Civ. Prac. &
Rem. Code § 18.001. The experts identified below may testify about the health care provided
to Plaintiff and may also testify on the following subjects and/or express the opinions
enumerated below. In so testifying, the listed treating physicians and/or their custodian(s)
of records will rely upon their medical records, notes and results of any lab tests including
blood tests, x-rays and other diagnostic procedures as well as their experience, education and
training in the course of their testimony.

        These non-retained experts may testify concerning:

            •   the injuries Plaintiff sustained as a result of the incident made the basis of this
                lawsuit;
            •   that the incident was a cause of Plaintiff’s injuries;
            •   the diagnoses and prognoses of Plaintiff’s condition;
            •   the treatment they provided to Plaintiff;
            •   that Plaintiff suffered pain and limitations in the past;
            •   that Plaintiff may suffer pain and incapacity in the future;
            •   that the services provided to Plaintiff were medically necessary;
            •   that the charges for the medical services were reasonable at the time and place
                they were provided;
            •   that Plaintiff may or will require medical treatment in the future; and
            •   the reasonable charges for any future necessary medical services.

        The experts listed below are health care providers. None of these experts have been
        retained by Plaintiff or his lawyers and neither Plaintiff nor his lawyers have control
        of these individuals:

                                     NON-RETAINED EXPERT
                            PLAINTIFF’S HEALTH CARE PROVIDER AND
                             THE CUSTODIANS OF MEDICAL RECORDS
                                           AND BILLS
                           St. David’s Georgetown Emergency Center
                           and the Custodian of Medical & Billing
                           Records
                           Various Healthcare Providers
                           2000 Scenic Drive
                           Georgetown, TX 78626
                           512-943-3000

                           Longhorn Emergency Medical Assoc., PA
                           And the Custodian of Billing Records
                           P. O. Box 638761
                           Cincinnati, OH 46563
                           888-952-6772


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                                    NON-RETAINED EXPERT
                            PLAINTIFF’S HEALTH CARE PROVIDER AND
                             THE CUSTODIANS OF MEDICAL RECORDS
                                            AND BILLS
                           Baylor Scott & White Clinic and the
                           Custodian of Medical & Billing Records
                           Various Healthcare Providers
                           2401 South 31st Street
                           Temple, TX 76508
                           254-724-2111

                           Espinoza Chiropractic and the
                           Custodian of Medical & Billing Records
                           Various Healthcare Providers
                           Arturo Espinoza, D.C.
                           Abiel Gonzalez, D.C.
                           1929 Payton Gin Road, Suite E
                           Austin, TX 78757
                           512-302-4779

                           Longhorn Imaging Center and the
                           Custodian of Medical & Billing Records
                           Douglas K. Smith
                           2745 Bee Caves Road, Suite 102
                           Austin, TX 78746
                           512-444-8900

                           ARA Diagnostic Imaging and the
                           Custodian of Medical & Billing Records
                           Various Healthcare Providers
                           P. O. Box 4099
                           Austin, TX 78765-4099
                           512-519-3443

                           Capitol Pain Institute and the
                           Custodian of Medical & Billing Records
                           Renee E. Doll, M.D.
                           2500 W. William Cannon Drive #401
                           Austin, TX 78745
                           512-467-7246




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                                    NON-RETAINED EXPERT
                            PLAINTIFF’S HEALTH CARE PROVIDER AND
                             THE CUSTODIANS OF MEDICAL RECORDS
                                           AND BILLS
                           Touchstone Medical Imaging and the
                           Custodian of Medical & Billing Records
                           Micheal Gilbert
                           15808 RR 620 North Suite 110
                           Austin, TX 78717
                           512-454-9597

                           Orthopaedic Specialists of Austin and the
                           Custodian of Medical & Billing Records
                           Andrew Ebert, M.D.
                           Robert Josey, M.D.
                           4611 Guadalupe Street, Suite 200
                           Austin, TX 78751
                           512-476-2830

                           Preferred Imaging and the
                           Custodian of Medical & Billing Records
                           Ami Patel, M.D.
                           711 W. 38th Street, Suite B-1
                           Austin, TX 78705
                           512-420-0000

                           Center for Specialty Surgery and the
                           Custodian of Medical & Billing Records
                           Various Healthcare Providers
                           8015 Shoal Creek Boulevard #100
                           Austin, TX 78757
                           512-584-8410

                           Results Physiotherapy and the
                           Custodian of Medical & Billing Records
                           Various Healthcare Providers
                           1600 W. 38th Street, Suite 132
                           Austin, TX 78731
                           512-348-2515




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These non-retained expert’s opinions are believed to be contained in his or her records which
have been previously produced in connection with this litigation. The summary of the facts
and opinions to which the health care providers identified herein and/or the custodians of
records and bills is expected to give testimony is contained in their medical records and bills
listed below (and including any updated or amended assemblies of Plaintiff’s medical records
and bills, which are also incorporated herein by reference):

    1. Medical Bills and Records – St. David’s Georgetown
    2. Medical Bills – Longhorn Emergency Med. Assoc., PA
    3. Medical Bills and Records –Baylor Scott & White
    4. Medical Bills and Records – Espinoza Chiropractic
    5. Medical Bills – ARA Diagnostic Imaging
    6. Medical Bills and Records – Capitol Pain Institute
    7. Medical Bills and Records – Touchstone Medical Imaging
    8. Medical Bills and Records – Orthopaedic Specialists of Austin
    9. Medical Bills and Records – Preferred Imaging
    10. Medical Bills and Records – Center for Specialty Surgery of Austin
    11. Medical Bills and Records – Results Physiotherapy

In addition, these health care providers and the custodians of medical records and bills are
expected to give testimony as to Plaintiff’s past medical bills and future medical estimated
expenses, including but not limited to the following:

Plaintiff’s past medical expenses are as follows:

        Medical Expenses:             BILLED              PAID                DUE
                                     $103,285.56        $  318.96         $102,613.15
        St. David’s G’town           $ 3,513.00         $    0.00         $ 1,396.00
        LEMA                         $ 1,152.00         $    0.00         $ 1,152.00
        Baylor S&W                   $ 1,351.80         $  318.96         $ 796.39
        Espinoza Chiropractic        $ 12,085.00        $    0.00         $ 12,085.00
        ARA Diagnostic Imaging $           30.00             0.00         $     30.00
        Capitol Pain Institute       $ 23,539.29        $    0.00         $ 23,539.29
        Touchstone Imaging           $ 1,951.00         $    0.00         $ 1,951.00
        Ortho. Specialists of Austin $ 1,386.63         $    0.00         $ 1,386.63
        Preferred Imaging            $ 4,740.00         $    0.00         $ 4,740.00
        Center for Spec. Surgery $ 45,138.84            $    0.00         $ 45,138.84
        Results Physiotherapy        $ 8,398.00         $    0.00         $ 8,398.00




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In addition to the non-retained health care providers identified above, the following
individuals may be called to testify in person, by deposition, or by the business records
maintained by them concerning the investigation of the subject incident, including fault and
causation. These individuals will rely upon the investigational records, notes and results of
any applicable tests as well as the witnesses’ experience, education, training, observations at
the scene/site of the subject incident and interviews with the parties and witnesses. These
witnesses may use the records generated including measurements, calculations, photographs
(if any) of the scene (including those taken by Plaintiff or Defendant or third-parties) and
transcriptions of statements of third parties, if any, in the witnesses’ testimony:

                                    NON-RETAINED EXPERT
                           INVESTIGATING TROOPER AND AGENCY FOR
                                      SUBJECT COLLISION
                           Texas Department of Public Safety and the
                           Custodian of Business/Investigation
                           Records
                           Trooper Carlos Felix (14479)
                           HP6A05
                           1617 E. Crest
                           Waco, TX 76705
                           254-759-7148


These non-retained expert’s opinions are believed to be contained in his or her records which
are attached hereto. Plaintiff reserves the right to supplement his response to this request in
accordance with the Federal Rules of Civil Procedure. In addition, Plaintiff hereby cross-
designates any expert witness, retained or non-retained, identified by any other party to this
litigation, by reference.




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